                     UNITED STATES DISTRICT COURT
                     EASTERN DISTRICT OF WISCONSIN
                         Civil No. 1:18-cv-108 (WCG)

Menominee Indian Tribe of Wisconsin,

                    Plaintiff,                DEFENDANTS’ OPPOSITION
                                              TO PLAINTIFF’S MOTION TO
            v.                                AMEND

United States Environmental Protection
Agency, et al.,

                    Defendants.


                                   INTRODUCTION

      The Tribe’s motion to amend its Complaint (ECF No. 34) should be denied

because the Tribe’s two proposed new counts fail to state claims upon which relief

may be granted. The Tribe’s proposed Count 3 seeks judicial review of EPA’s

May 3, 2018, letter to the Michigan Department of Environmental Quality

(“MDEQ”), which the Tribe characterizes as withdrawing EPA’s objections to

MDEQ’s proposed permit. However, EPA’s review of state-issued Clean Water

Act (“CWA”) permits is discretionary, and not otherwise subject to judicial review

in federal court. See Am. Paper Inst. v. EPA, 890 F.2d 869, 875 (7th Cir. 1989).

The Tribe’s proposed Count 4 asserts a violation of the consultation requirement in

section 106 of the National Historic Preservation Act (“NHPA”), but that

requirement only applies to federally funded or licensed undertakings, neither of




       Case 1:18-cv-00108-WCG Filed 10/10/18 Page 1 of 10 Document 39
which is at issue here. See Nat’l Mining Ass’n v. Fowler, 324 F.3d 752, 759-60

(D.C. Cir. 2003). Because neither proposed claim would survive a motion to

dismiss, amending the Complaint would be futile and the Tribe’s motion should be

denied.

                             STATUTORY BACKGROUND

      We explained in our memorandum in support of our motion to dismiss (ECF

No. 7) that a State that administers the CWA Section 404 permit program must

provide to EPA a copy of all permit applications and proposed permits. 33 U.S.C.

§ 1344(j). If EPA objects to a proposed permit, the State may either issue a revised

permit that resolves EPA’s objections; deny the permit application; or request a

public hearing. Id.; 40 C.F.R. § 233.50(f), (g). If the State takes none of these

actions within 90 days, permitting authority transfers to the Corps by operation of

law. 33 U.S.C. § 1344(j); 40 C.F.R. § 233.50(i), (j).

      The NHPA “is a ‘stop, look, and listen,’ provision that requires each federal

agency to consider the effects of its programs,” but does not require that they reach

particular outcomes. Muckleshoot Indian Tribe v. U.S. Forest Serv., 177 F.3d 800,

805 (9th Cir. 1999). Section 106 of the NHPA requires federal agencies “having

direct or indirect jurisdiction over a proposed Federal or federally assisted

undertaking” to “take into account” the effect of their actions on sites and

structures eligible for inclusion in the National Register of Historic Places. 54


                                          2
       Case 1:18-cv-00108-WCG Filed 10/10/18 Page 2 of 10 Document 39
U.S.C. § 306108. The NHPA defines an “undertaking” as a “project, activity, or

program,” including, among other things, those “requiring a Federal permit” and

“those subject to State or local regulation administered pursuant to a delegation or

approval by a Federal agency.” Id. § 300320.

                              FACTUAL BACKGROUND

      On March 8, 2018, EPA objected to MDEQ’s proposed Section 404 permit

for Aquila’s Back Forty Mine. Aquila provided additional information, and on

May 3, 2018, EPA wrote to MDEQ describing the objections that EPA considers

resolved, and the objections that EPA explained would be resolved through

appropriate terms and conditions in a final state-issued permit. Both letters are

attached to the Tribe’s motion. See ECF Nos. 35-3, 35-5. On June 3, MDEQ

issued a Section 404 permit with the necessary terms and conditions to satisfy the

remaining objections in EPA’s May 3 letter.

                                      ARGUMENT

      Although leave to amend a pleading should be freely given “when justice so

requires,” Fed. R. Civ. P. 15(a)(2), a motion to amend should be denied if the

amendment would be futile, i.e., if the would-be amended pleading could not

withstand a motion to dismiss for failure to state a claim. EEOC v. Orion Energy

Systems, Inc., 145 F.Supp.3d 841, 844 (E.D. Wisc. 2015) (citation omitted).




                                          3
       Case 1:18-cv-00108-WCG Filed 10/10/18 Page 3 of 10 Document 39
Because neither of the proposed additional counts state a claim on which relief

may be granted, the amendment would be futile and should be denied.

I.    EPA’S MAY 3 LETTER IS NOT JUDICIALLY REVIEWABLE FINAL
      AGENCY ACTION.

      The Tribe asserts that EPA’s May 3 letter violates the CWA and EPA’s

regulations, and is arbitrary and capricious and otherwise violates the

Administrative Procedure Act (“APA”). Proposed Complaint ¶ 89 (ECF No. 35-

1). The Tribe argues that the May 3 letter does not cite any “record evidence” nor

does it provide any “analysis, detail, or explanation of why future promises or

conditions” address EPA’s objections. Id. ¶ 73.

      To the extent the Tribe is attempting to state a claim for a violation of either

the CWA or EPA’s regulations, the Tribe fails to point to any cause of action in

that statute. Furthermore, the Tribe runs afoul of the well-established rule that the

content of an agency’s decision can only be challenged under the APA, if at all, not

in a citizen suit under 33 U.S.C. § 1365(a)(2). Scott v. City of Hammond, 741 F.2d

992, 995 (7th Cir. 1984); see also Wisconsin’s Envt’l Decade, Inc. v. Wisconsin

Power & Light Co., 395 F. Supp. 313, 321 (W.D. Wisc. 1975) (finding that the

predecessor provision to 33 U.S.C. § 1365(a)(2) “was intended to provide relief

only in a narrowly-defined class of situations in which the Administrator failed to




                                          4
       Case 1:18-cv-00108-WCG Filed 10/10/18 Page 4 of 10 Document 39
perform a mandatory function; it was not designed to permit review of the

performance of those functions”).1

      To the extent the Tribe argues, instead, that the May 3 letter is judicially

reviewable final agency action under the APA, the Tribe’s claim fails to state a

claim under American Paper Institute. In that case, EPA objected to permits

proposed by the Wisconsin Department of Natural Resources under CWA section

402, 33 U.S.C. § 1342. 2 The State modified the permits to satisfy EPA’s

objections, and the permittee sought judicial review. 890 F.2d at 870-72.

      The Seventh Circuit held that although “EPA objections to state permits

could arguably be challenged in district court under the Administrative Procedure

Act,” such review is unavailable, both because the CWA precludes such review

and because an EPA objection is an agency action that “is committed to agency

discretion.” 890 F.2d at 875. In particular, the court explained that Congress

“clearly intended to preclude federal review of state-issued permits,” to “put the

regulatory burden on the states,” and to “give [EPA] broad discretion in

1
  The same reasoning applies to the extent the Tribe is attempting to state a claim
for a violation of the NHPA in proposed Count 4, as opposed to a claim for judicial
review under the APA based on an alleged failure to comply with the NHPA.
2
  State permitting programs under section 402 are subject to an EPA oversight
process that is parallel to the section 404 process. A State may not issue a section
402 permit over EPA’s objection, and if a State fails to submit a revised permit that
resolves EPA’s objections, permitting authority reverts to EPA. See 33 U.S.C. §
1342(d)(4).


                                          5
       Case 1:18-cv-00108-WCG Filed 10/10/18 Page 5 of 10 Document 39
administering the program.” Id., quoting District of Columbia v. Schramm, 631

F.2d 854, 860 (D.C. Cir. 1980). Because “EPA needs a range of discretion to

accomplish this goal . . . federal courts should leave EPA with discretion to review

state-issued permits.” Id. Instead, “state courts may examine challenges to any

pertinent EPA objections” which they are “perfectly competent” to do. Id.

      Thus, under binding circuit precedent, EPA objections are not reviewable in

federal court.

      The Tribe may point to Friends of the Crystal River v. EPA, 35 F.3d 1073,

1079 (6th Cir. 1994), for the proposition that EPA objections are “final” agency

actions. In Crystal River the court invalidated EPA’s attempt to withdraw an

objection after the 90-day clock had expired, and permitting authority had

transferred to the Corps. The court noted that “EPA’s withdrawal of its objections

is a final decision.” Id. However, the court did not review the merits of EPA’s

objections, or the merits of EPA’s decision to withdraw those objections, which is

what the Tribe seeks. Instead, the court reviewed EPA’s attempt to undo the

transfer of permitting authority from the State to the Corps.

      The Crystal River court explained that “the transfer of permitting authority

back to the state [sic] was a non-discretionary act,” because the statute “both

requires the agency to act within a certain time period and specifies a consequence




                                          6
       Case 1:18-cv-00108-WCG Filed 10/10/18 Page 6 of 10 Document 39
if that requirement is not met.” Id. at 1079-80.3 Because the court was “faced with

a final, non-discretionary agency act,” the court concluded that “review is

appropriate.” Id. at 1079 (emphasis added). Notably, the court did not hold that

EPA’s withdrawal of its objections lacked record support or was arbitrary. The

court did not even discuss the merits of EPA’s decision to withdraw its objections.

The court simply held that once 90 days elapse after EPA objects, permitting

authority is vested in the Corps (assuming the state neither issues a revised permit,

nor denies the permit, nor requests a hearing). Id. at 1080. Here, in contrast,

MDEQ acted timely and permitting authority never transferred to the Corps.4




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  Although the Crystal River court referred to the transfer “back to the state” as a
non-discretionary act, the court presumably meant that the transfer to the Corps
after the expiration of 90 days is non-discretionary. See, e.g., 35 F.3d at 1080
(finding that authority transfers to the Corps upon expiration of the statutory
timeframe); id. at 1079 n.12 (noting that the “transfer of authority to the Army
Corps” is “not so discretionary that there is no law to apply”).
4
  The Crystal River court questions whether the Seventh Circuit should have
decided American Paper on the basis that objections are not final, instead of on the
basis that objections are discretionary, but the Seventh Circuit has not re-visited its
reasoning and American Paper remains the law of this circuit. And, even if that
court were to do so, an agency action can be “final” but unreviewable because it is
committed to the agency’s discretion. Furthermore, finality under the APA
requires an action that determines rights or obligations or has legal consequences.
Bennett v. Spear, 520 U.S. 154, 177-78 (1997). Where a state administers the
CWA Section 404 permit program, the rights, obligations, and legal consequences
flow from the state’s decision to issue or to deny a permit, not from EPA’s
objection.


                                           7
       Case 1:18-cv-00108-WCG Filed 10/10/18 Page 7 of 10 Document 39
      Because EPA’s objections are discretionary and therefore not reviewable,

the Tribe’s proposed Count 3 fails to state a claim upon which relief can be

granted.

II.   THERE IS NO DUTY TO CONSULT ON A STATE-ISSUED PERMIT.

      The Tribe also asserts that section 106 of the NHPA requires the federal

agencies to consult with the Tribe. Proposed Compl. ¶ 95 (ECF No. 35-1).

However, as the D.C. Circuit has explained, section 106 consultation applies not

just to “undertakings,” but “by its terms only to federally funded or federally

licensed undertakings.” Fowler, 324 F.3d at 760 (citation omitted). Neither is at

issue here, because the permit in question was issued by MDEQ. While the permit

may be an “undertaking,” as it is “subject to State or local regulation administered

pursuant to a delegation or approval by a Federal agency,” 54 U.S.C. § 300320, it

is not a federally funded or licensed undertaking. Because there is no federal

permit, section 106 “simply does not apply.” Fowler, 324 F.3d at 759 (citation

omitted). The Tribe’s proposed Count 4 therefore fails to state a claim upon which

relief can be granted.

                                      CONCLUSION

      For these reasons, the Court should deny the Tribe’s motion to amend its

Complaint (ECF No. 35).

                                              Respectfully submitted,


                                          8
       Case 1:18-cv-00108-WCG Filed 10/10/18 Page 8 of 10 Document 39
                                     s/ Daniel R. Dertke
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                                    9
      Case 1:18-cv-00108-WCG Filed 10/10/18 Page 9 of 10 Document 39
                         CERTIFICATE OF SERVICE

      I hereby certify that on October 10, 2018, I electronically filed the foregoing

DEFENDANTS’ OPPOSITION TO PLAINTIFF’S MOTION TO AMEND with

the Clerk of the Court by using the CM/ECF system.

      The participants in the case are registered CM/ECF users and service will be

accomplished by the CM/ECF system.


                                              s/ Daniel R. Dertke
                                             DANIEL R. DERTKE




      Case 1:18-cv-00108-WCG Filed 10/10/18 Page 10 of 10 Document 39
